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CASE NO. CV 00-6803-RSWL DATED: December 10, 2001
TITLE: CALIF, ASSOC OF HEALTH PLANS v. DANIEL ZINGALE, ef al,

Me

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PRESENT: HONORABLE RONALD S.W, LEW, JUDGE
Kelly Davis Roger May

Deputy Clerk Court Reporter
ATTORNEYS FOR PLAINTIFFS: ATTORNEYS FOR DEFENDANTS:

Steven Madison Curtis Leavitt
James Novello

 

 

PROCEEDINGS: ORDER TO SHOW CAUSE RE CONTEMPT
Counsel present and hearing held. Court rules as follows:

Order to Show Cause re Contempt is DENIED. Counsel for the
defense to prepare the order.

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